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                    IN THE CIRCUIT COURT FOR THE 16TH JUDICIAL CIRCUIT

                                     DEKALB COUNTY, ILLINOIS


             THE PEOPLE OF THE STATE
             OF ILLINOIS,
                                                    )
                                                    )
                                                                 0 OPV
                                                    )
             Plaintiff,                             )
                                                    )   CASE NO. 11 CF 454
6                   vs.                             )
                                                    )
7            JACK D. McCULLOUGH,                    )
                                                    )
             Defendant.                             )

 9                     REPORT OF PROCEEDINGS of the trial before the

10             HONORABLE JAMES HALLOCK, on the 11th of September,

11             2012.

12

13                     APPEARANCES:

14                            MR. CLAY CAMPBELL,
                              DeKalb County State's Attorney,
15                            MR. VICTOR ESCARCIDA and
                              MS. JULIE TREVARTHEN,
16                            Assistant State's Attorneys,
                              for the People of the State of Illinois.
17
                              MR. THOMAS McCULLOCH,
18                            DeKalb County Public Defender, and
                              MR. ROBERT CARLSON,
19                            Assistant Public Defender,
                              for the defendant.
20

21                                                               FILED
22                                                                 JAN 2 5 2013
               SANDRA FOORD, CSR 084-003025                         Maureen A. Josh
23             Official Court Reporter                          Clerk of the Circuit Court
               DeKalb County Courthouse                          DeKalb County, Illinois
24




                                                                                EXHIBIT 5
                                                                           Plaintiff 004231
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                    WITNESSES                                  D      C     RD      RC

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 7                  Dennis Twadell                          133    141

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12

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16                  NUMBER                               MARKED           RECEIVED

17                  People's Exhibit No. 78                                  65

18                  People's Exhibit No. 9                                  115

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                                                                       Plaintiff 004232
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                              (The following proceedings were had

                                in open court.)



                    THE COURT:       Good morning, ladies and gentlemen.

               As we finished yesterday we finished up a witness

               and for the record all the attorneys are present.

 7             The investigator for the defense is present and

 8             we're waiting for the defendant.

 9                  Let the record reflect the defendant is now

10             present, and at this time I'll invite the State to

11             call its next witness.

12                  MS. TREVARTHEN:         Thank you, Judge.          The People

13             would call Kathy Sigman.

14                  THE COURT:       Ma'am, if you'd like to come over in

15             front of the clerk to be sworn.

16                            (Witness sworn.)

17                  THE COURT:       Thank you very much.           You may have a

18             seat here in the witness stand.

19                  And the State may proceed.

20                  MS. TREVARTHEN:         Thank you, Judge.

21

22

23

24




                                                                       Plaintiff 004233
     Case: 3:17-cv-50116 Document #: 285-6 Filed: 02/10/20 Page 4 of 64 PageID #:3883




                                       MARY CHAPMAN,

               called as a witness on behalf of the People, being

               first duly sworn, was examined and testified as

               follows:

                                    DIRECT EXAMINATION



               BY MS. TREVARTHEN:

 8                  Q.   Good morning, ma'am.

 9                  A.   Good morning.

10                  Q.   Could you please state your first and last

11             name and spell both for court reporter?

12                  A.   Mary Chapman, M a r y C h a p m a n.

13                  Q.   Do you go by Mary Katherine?

14                  A.   No.    I go by Kathy.

15                  Q.   Thank you.       Kathy, what's your date of

16             birth?

17                  A.   September 25, 1949.

18                  Q.   Where do you live, ma'am?

1°                  A.   I live in St. Charles, Illinois.

20                  Q.   And how long have you lived there?

21                  A.   In St. Charles?

22                  Q.   Yes.

23                  A.   Twenty-three years.

24                  Q.   How are you employed?




                                                                       Plaintiff 004234
     Case: 3:17-cv-50116 Document #: 285-6 Filed: 02/10/20 Page 5 of 64 PageID #:3884
                                                                                          5




                     A.   I am employed at Bison Air & Engineering in

               St. Charles.

                     Q.   What do you do for them?

                     A.   I am the assembler for a small motor

               company.

                     Q.   How long have you worked there?

 7                   A.   I have worked there seven years.

                     Q.   Are you married?

 9                   A.   I should say six and a half.              I'm sorry.

10                   Q.   Okay.

11                   A.   Yes, I am married.

12                   Q.   And your married name again, your last name?

13                   A.   Chapman.

14                   Q.   And your maiden name?

15                   A.   Sigman.

16                   Q.   Do you have any children?

17                   A.   I have three children.

18                   Q.   Where were you born?

19                   A.   I was born in Sycamore.

20                   Q.   Where were you raised?           Where did you grow

21             up?

22                   A.   I grew up on Archie Place in Sycamore.

23                   Q.   I'd like to draw your attention specifically

24             to the year of 1957?




                                                                       Plaintiff 004235
     Case: 3:17-cv-50116 Document #: 285-6 Filed: 02/10/20 Page 6 of 64 PageID #:3885
                                                                                          ,




 1                  A.   Correct.

 2                  Q.   So you said your birthday was September

 3             25th; is that correct?

                    A.   That's correct.

                    Q.   So you turned eight years old; is that

               correct, in --

                    A.   '57.

 8                  Q.   -- 1957?      And you indicated that you lived

 9             on Archie Place?

10                  A.   Yes, I did.

11                  Q.   What was the address?

12                  A.   646 1/2 Archie Place.

13                  Q.   With whom did you live?

14                  A.   I had my mom and dad and an older brother

15             and a younger brother.

16                  Q.   Where did you go to school?

17                  A.   I went to school at West School right across

18             the street from my house.

19                  Q.   In 1957 what grade were you in?

20                  A.   I was in third grade.

21                  Q.   Can you describe that neighborhood for the

22             Court where you lived on Archie Place?

23                  A.   It was a nice, quiet street with kids to

24             play with and just happy-go-lucky place to grow up.




                                                                       Plaintiff 004236
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 1                  Q.   Did you have a lot of friends in the

2              neighborhood?

 3                  A.   We had friends.         I wouldn't say a lot, but I

 4             think there was more girls -- more boys than girls

 5             in the neighborhood.

 6                  Q.   There were a lot of children in the

 7             neighborhood?

 8                  A.   I wouldn't say a lot; maybe a handful.

 9                  Q.   Did all the children play together or were

10             there specific groups of kids, some kids would play

11             together, others would stick to themselves or can

12             you describe that for us, please?

13                  A.   We had a few select friends that we played

14             with, but lots of times it was up to the parents if

15             they would let us out.

16                  Q.   Did you have any friend in particular in the

17             neighborhood with whom you played?

18                  A.   Yeah.     I played with Maria Ridulph.

19                  Q.   Okay.

20                  A.   She lived just right down my street, so I

21             was allowed to play.

22                  Q.   Maria Ridulph lived on Archie Place as well;

23             is that correct?

24                  A.   Yes, she did.




                                                                       Plaintiff 004237
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                    Q.   How many houses down from you, if you

 2             remember, did Maria live?

                    A.   I think five houses.

                    Q.   Would it be fair to say you spent a lot of

               time with Maria?

                    A.   I think we did.

                    Q.   Were you in the same grade as Maria?

 8                  A.   No.    I think Maria was in second grade.

 9                  Q.   You were a year older or ahead in school?

10                  A.   I was a year older, yes.

11                  Q.   What did you and Maria like to play?                  What

12             did you do together?

13                  A.   Played with dolls.          We played across the

14             street on the swing set at the school.                   We played

15             hopscotch, Kick the Can; all those little games that

16             kids do back in the '50's.

17                  MS. TREVARTHEN:          May I approach the witness,

18             Judge?

19                  THE COURT:       Sure.

20                  MS. TREVARTHEN:          Thank you.

21             BY MS. TREVARTHEN:

22                  Q.   Ma'am, I'm showing you what's been

23             previously marked as People's Exhibit No. 79 for

24             identification purposes.             Can you take a look at




                                                                       Plaintiff 004238
 Case: 3:17-cv-50116 Document #: 285-6 Filed: 02/10/20 Page 9 of 64 PageID #:3888




 1         that?

                A.   It's myself and Maria, with a birthday cake

           for Maria.

                THE COURT:       Excuse me, ma'am.          You have to speak

 5         up loud enough so the court reporter can hear you

 6         and all the folks here can hear you.

 7              A.   (Continuing.)         This is a picture of Maria

 8         and myself with her birthday cake.

 9         BY MS. TREVARTHEN:

10              Q.   Is that a picture of the two of you when you

11         were little and lived together on Archie Place?

12              A.   This was a picture of Maria's birthday when

13         she turned seven.

14              Q.   Does that truly and accurately depict

15         yourself and Maria back in 1957?

16              A.   Yes, that is definitely myself and Maria.

17              Q.   Thank you.       And now you talked about some of

18         the games and some of the activities that you and

19         Maria liked to play.           Were there -- was there any

20         other game in particular that you and Maria or you

21         and other children in the neighborhood would play

22         outside?

23              A.   Yes; a game called Duck the Cars.

24              Q.   Now, I'd like to direct your attention even




                                                                   Plaintiff 004239
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           more specifically to December 3rd of 1957.                     Do you

           recall what you did on that day?

                A.   It was a Tuesday.          It was a school day.            I

           went to school and came home after school to play,

           and Maria and I played after we got home from school

           at her house.

                Q.   Okay.      You played in Maria's house after

           school.      Did you at some point go home?

 9              A.    I went home for dinner at probably 5

10         o'clock, had dinner at 5:30.               It was a typical

11         dinnertime for our --

12              Q.    You usually had a set dinnertime?

13              A.   At our house, yes.

14              Q.    And that was at 5:30?

15              A.    Right.

16              Q.    Did you see Maria again after you went home

17         and ate dinner?

18              A.    Yes.     It was starting to snow outside, so I

19         asked if I could go back to Maria's house and play

20         in the snow.

21              Q.    Were you allowed to go outside again?

22              A.    I was allowed to go back to her house.

23              Q.    You did go to Maria's house?

24              A.   I went to Maria's house.




                                                                   Plaintiff 004240
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 1               Q.   Okay.

2                A.   And we went outside to play.

 3               Q.   When you say "we", you're referring to

 4          yourself and --

                 A.   To Maria and myself went out to play Duck

           the Cars.

 7               Q.   Okay.     And when you and Maria went outside

8           to play Duck the Cars, where did you go to play this

 9          game?

10               A.   On the corner of Archie and Center Cross.

11               Q.   Do you recall which corner you were on

12               A.   The corner --

13               Q.   -- direction-wise?

14               A.   -- with Archie -- Archie Place's pole,

15         street sign.

16               Q.   Okay.     Can you describe for the Court

17         exactly what the game of Duck the Cars entailed, how

18          you played it?

19               A.   Sure.     It's a game where we would run around

20          and hang onto the pole and wait for the cars coming

21          up the street so we could run behind the tree and

22          hide before those lights of the cars would hit our

23          bodies and light us up.

24               Q.   Can you describe this tree for us,




                                                                   Plaintiff 004241
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                                                                                         12




              specifically its location in relationship to the

              street and its size?

                    A.   It's -- ask the question again, please.

                    Q.   Can you describe that corner, where you

              played the game?

                    A.   The corner had --

                    Q.   Specifically the tree?

                    A.   Okay.     The corner had a streetlight on it

    9         and it had a great big tree on it.                 Not very far

10            from the corner of the street was the tree that we

11             would go hide behind.

12                  Q.   And you hid behind that tree?

13                  A.   Right.

14                  Q.   To play Duck the Cars?

15                  A.   To play Duck the Cars.

16                  Q.   That evening of December 3, 1957, what, if

1 7           anything, happened while you and Maria were playing

18             Duck the Cars?

1                   A.   There was a person, a man that came down

20            from the south walking by himself and approached us.

21                  Q.   And when this man approached you and Maria,

22             what, if anything, happened?

23                  A.   He asked if we liked dolls and would we like

24            a piggyback ride.




                                                                      Plaintiff 004242
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                 Q.   Before we talk about that, can you please

            describe for the Court what this man looked like?

                 A.   This man was a slender face with hair that

            had a flip in the side -- in the side of it and he

            had large teeth.

                 Q.   Okay.     And you talked about the streetlight.

 7          Now, was it dark outside after dinner December 3rd

 8          when you were out playing with Maria?

 9               A.   Very dark, very dark but streetlights on the

10          corner of Archie and Center Cross.

11               Q.   Okay.     Can you describe how well-lit or can

12          you describe the lighting condition

13               A.   We stood on the corner with that light

14         shining down.         We could -- we -- we weren't actually

15          very dark because that light was on top of us.

16               Q.   So the corner was well-lit.              Would that be

17         fair?

18               A.   The corner was lit.

19               Q.   Do you recall what this man was wearing?

20               A.   This man was wearing a sweater with lots of

21         colors in it.

22               Q.   And when he approached you and asked

23          yourself and Maria if you liked dollies or piggyback

24          rides, did he introduce himself to you?




                                                                   Plaintiff 004243
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                                                                                      14




 1              A.    He introduced himself as Johnny.

 2              Q.    Did you know who this person Johnny was?

 3              A.    No, I had never seen Johnny before.

 4               Q.   To your recollection had               so you had never

 5         seen him before?

 6               A.   No.

 7               Q.   When he asked about the dollies or the

8          piggyback rides, what, if anything, happened next?

 9               A.   Maria took a piggyback ride up the street

10          with Johnny.

11               Q.   Do you recall what direction they went or

12          what street?

13               A.   They went up the same way Johnny had come

14         from when he first approached us.

15               Q.   So --

16               A.   Which would be from the south.

17               Q.   Okay.

18               A.   He went towards the south.

19               Q.   And after they walked towards the south,

20          now, was Maria on Johnny's back?

21               A.   Yes.

22               Q.   So they went back in the same direction

23          where he came from, south; correct?

24               A.   Correct.




                                                                   Plaintiff 004244
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                                                                                      15




                 Q.   And then what happened?

                 A.   They came back to the corner.

                 Q.   Okay.

                 A.   And --

                 Q.   And after they come back to the corner what,

            if anything, happened next?

 7               A.   Maria went home to get her doll that he

8          asked us for.         He asked if we liked dolls, and Maria

 9          went home to get a doll.

10               Q.   As Maria went home to get her doll what, if

11         anything, did you and Johnny do?

12               A.   I do not remember anything except for

13          watching her go home and waiting for her to come

14          back.

15               Q.   And while you were standing at the corner

16          watching Maria what, if anything, did you observe?

17               A.   I observed Johnny.

18               Q.   And how was it that you were able to observe

19          Johnny?

20               A.   By standing in that streetlight.

21               Q.   How far away from that corner was Maria's

22          house?

23               A.   She lived three doors away.

24               Q.   So can you approximate for us how long it




                                                                   Plaintiff 004245
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                                                                                      16




           was that you stood on that corner under that light

           looking at Johnny?

 3              A.   A minute or two.          Maria ran home to get the

 4         doll and ran back.

                Q.   Now, had you been to Maria's house before?

                A.   Lots of times, yes.

                Q.   Okay.      Did Maria have a special place in the

           house where she kept her dolls or kept her toys?

                A.    Her little play area was right inside the

10         front door.

11              Q.    Did Maria return to the corner?

12              A.   Maria returned with her doll.

13              Q.   And when Maria comes back to the corner with

14         the doll where you're standing with Johnny, what, if

15         anything, happens next?

16              A.    My hands are very cold because when I came

17         to her house I didn't have my mittens so I

18              Q.   I'm sorry.        Can you repeat that?

19              A.   I came -- I did not have my mittens when I

20         went out to play and my hands were cold, and I went

21         home to get my mittens.

                MS. TREVARTHEN:          May I approach, Judge?

23              THE COURT:       Sure.

24              MS. TREVARTHEN:          Thank you.




                                                                   Plaintiff 004246
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                                                                                      17




 1          BY MS. TREVARTHEN:

 2               Q.   Ma'am, I'm now showing you what's been

 3          previously marked for identification purposes

 4          People's Exhibit No. 78.            Can you take a look at

 5          that for me and let me know if you recognize that

6           picture and tell me if you do recognize it what it

 7          is that you recognize it to be?

8                A.   This is myself showing the mittens that I

 9          went home to get.

10               Q.   And does that truly and accurately depict

11          you with those mittens in 1957?

12               A.   Yes, it is.       My goodness.

13               Q.   Thank you, ma'am.          Now, after you went home

14          to get your mittens did you go back to the corner?

15               A.   I went back to the corner looking for Maria.

16          She should still be there.

17               Q.   And was she there?

18               A.   She was not there.

19               Q.   After you returned to the corner and Maria

20          is no longer there what, if anything, did you do

21          next?

22               A.   I went back to Maria's house to ask her

23          brother if she had come home.

24               Q.   Okay.     And without telling me what anybody




                                                                   Plaintiff 004247
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           said after you went to Maria's house to check if she

           was there, what did you do next?

                A.    Her brother asked me to go back out and look

           for her again, "she must still just be hiding from

            you".

                Q.    And did you, in fact, go back out and look

 7         for Maria again?

 8               A.   Yes, I did.

 9              Q.    Were you able to find Maria?

10               A.   No, I did not find her.

11              Q.    After you looked for her the second time and

12         couldn't find her what did you do next?

13              A.    I went home to my parents' house.

14              Q.    Without telling me specifically what you

15         said to anybody, what did you do when you got home?

16               A.   I had to tell my mom about Johnny and Maria.

17               Q.   After you told your mom about Johnny and

18         Maria, what's the next thing you remember?

19               A.   Having the police come to my house to ask

20         myself the information that I had told my parents.

21               Q.   Did you, in fact, give that same information

22         to the police?

23               MR. McCULLOCH:        Judge, I'd object --

24               A.   I told --




                                                                   Plaintiff 004248
 Case: 3:17-cv-50116 Document #: 285-6 Filed: 02/10/20 Page 19 of 64 PageID #:3898
                                                                                      19




 1               MR. McCULLOCH:        -- to the characterization the

 2         same information.

                 THE COURT:       Sustained.       Rephrase your question.

                 MS. TREVARTHEN:         Thank you, Judge.

            BY MS. TREVARTHEN:

                 Q.   Did you give information to the police?

 7               A.   I gave the information to the police of what

 8          had happened.

 9               Q.   Thank you.       Was that the only time you

10         talked to the police after December 3, 1957?

11               A.   No.

12               Q.   Can you approximate for the Court how many

13         times you spoke with the police?

14               A.   On a daily basis every day while --

15               Q.   Do you know for how long approximately?

16               A.   Seems like three or four months.

17               Q.   Were the police -- in addition to being at

18          your house to speak with you, did you have any other

19         contact with the police during this period of time?

20               A.   I had contact with the FBI, the police.

21               Q.   What was that contact?            Can you describe

22         that for us?

23               A.   It was being taken to watch line-ups or a

24         few line-ups of men, of men in books, of any




                                                                   Plaintiff 004249
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                                                                                      20




 1         suspects that they could have me view.

 2               Q.   Okay.     Before we get to that did the police

 3         ever escort you anywhere?

 4               A.   Yes.

 5               Q.   Where?

 6               A.   To the police stations, to any place that

 7         they had -- that they thought they had a line-up

 8          that I could see.

 9               Q.   Did the police after Maria went missing ever

10         accompany you to common everyday activities at all?

11               A.   Yes.     They accompanied me to Sunday School.

12               Q.   Okay.

13               A.   Which was the First Baptist Church in

14         Sycamore.

15               Q.   Was that on a regular basis that they

16         accompanied you?

17               A.   At least once or twice that I can remember.

18               Q.   Okay.     Now, you specifically mentioned the

19          police showing you line-ups or books?

20               A.   Yes.

21               Q.   Is it fair to say that you're talking about

22         them showing you pictures in an effort to determine

23          who Johnny was?

24               A.   They wanted me to see if I could pick him




                                                                   Plaintiff 004250
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                                                                                      21




1          out of a line-up, if I could --

2                Q.   And can you estimate              and I know it was a

 3         long time ago.         Can you estimate for the Court how

 4         many photographs you were shown?

 5               A.   Thousands of photographs.

6                Q.   Were you ever shown a photograph of the man

 7          named Johnny who stood under that light on the

8          corner with you?

 9               A.   No, I had never seen his picture.

10               Q.   Now, I want to fast forward to 2010, okay?

11          In 2010, specifically September, were you contacted

12          by law enforcement?

13               A.   I was contacted by Brion Hanley of the State

14          Police of Illinois.

15               Q.   Did you have an opportunity to speak with

16          him?

17               A.   He came to my house and asked me if I could

18          remember anything of the disappearance of Maria

19          Ridulph.

20               Q.   Again without telling us specifically what

21          you said or what he said, did you relay that

22          information to Brion Hanley of the Illinois State

23          Police?

24               A.   I gave him the exact information that I can




                                                                   Plaintiff 004251
 Case: 3:17-cv-50116 Document #: 285-6 Filed: 02/10/20 Page 22 of 64 PageID #:3901
                                                                                      22




 1         remember back from 1957 to him.

 2              Q.    Did Brion Hanley show you a photo line-up?

 3              A.    Brion Hanley showed me a photo line-up.

 4              Q.    And before showing you the photo line-up,

 5         did he go over some instructions with you?

 6              A.    Yes, he did.

 7              MS. TREVARTHEN:          May I approach again, Judge?

 8              THE COURT:        Yes.

 9              MS. TREVARTHEN:          Thank you.

10         BY MS. TREVARTHEN:

11              Q.    Ma'am, I'm now showing you what's been

12         previously marked as People's Exhibit No. 3 for

13         identification purposes.             Can you take a look at

14         that and let me know if you recognize that?

15              A.    This is my signature on September 9, 2010.

16              Q.    Is that a form that Brion Hanley of the

17         Illinois State Police went over with you?

18              A.    Yes, it is.

19              Q.    And did he show that to you prior to having

20         you view the photo line-up?

21              A.    Yes, he did.

22              Q.    Thank you, ma'am.

23              THE COURT:       Excuse me.       That date was?

24              MS. TREVARTHEN:          I'm sorry.      This is September




                                                                   Plaintiff 004252
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                                                                                      23




            9th.

                 THE COURT:       Yes, thank you.         That's what I had.

            BY MS. TREVARTHEN:

                 Q.   Ma'am, do you recall the first day when you

            indicated that Brion Hanley came to your home and

            spoke with you, do you remember the date by any

            chance?

                 A.   It was September 1, 2010.

                 Q.   And the date that -- did he come back to

            your house?

                 A.   He came back to my house eight days later.

12               Q.   So that was on September 9th?

13               A.   Yes, it was.

14               Q.   And that was the day that you were shown the

15          photo line-up?

16               A.   Correct.

17               Q.   Is that correct?

18               MS. TREVARTHEN:         May I approach again, Judge?

19               THE COURT:       Yes.

20               MS. TREVARTHEN:         Thank you.

21          BY MS. TREVARTHEN:

22               Q.   Ma'am, I'm showing you what's been

23          previously marked as State's Group Exhibit No. 1.

24          I'm going to show you six photographs that are




                                                                   Plaintiff 004253
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                                                                                      24




 1         marked No. 1A, B, C, D and F.               Now, can you describe

           for us before I put the pictures down how were the

           pictures shown to you by Brion Hanley?

                 A.   They were laying on a coffee table.

                 Q.   Can you describe for us how he laid them out

           on the table?

 7               A.   One at a time.

 8               Q.   I don't have a lot of room here, but I'm

 9         going to lay them down in front of you.                    This is the

10         photo line-up of the series of photographs that you

11          were shown by Brion Hanley?

12               A.   Yes, it was.

13               Q.   Were you able to identify one of those

14         photographs as being the man named Johnny who was at

15         that corner on December 3, 1957, with yourself and

16         Maria?

17               A.   Yes, I was.

18               Q.   And can you please point to the photograph

19         that you picked out as being Johnny?

20               A.   This photo right there.

21                               (Indicating.)

22               MS. TREVARTHEN:         Judge, I'd ask that the record

23         reflect that she's chosen the third photograph from

24         the left.




                                                                   Plaintiff 004254
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                                                                                       25




 1                THE COURT:        Let the record reflect that she has

 2          chosen the third photograph from the left.

 3                And is there a letter on that photograph for the

 4          record?

                  MS. TREVARTHEN:           There is, Judge.      That is No.

            1D.

                  WITNESS:     D.

 8                THE COURT:        Okay.

 9          BY MS. TREVARTHEN:

10                Q.   Ma'am, is there any writing on the front of

11          that photograph?

12                A.   It has my signature that this is the person

13          that I identified as Johnny.

14                Q.   Were you asked to put your signature on that

15          photograph after you identified that as being the

16          individual?

17                A.   Yes, I was.

18                Q.   Ma'am, when was the last time you had seen

19          that face?

20                A.   1957, December 3rd.

21                MS. TREVARTHEN:           Thank you, ma'am.

22                I don't have any further questions for this

23          witness, Judge.          Thank you.

24                THE COURT:        Thank you.




                                                                    Plaintiff 004255
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                                                                                      26




 1              At this time I'll invite the defense do you have

 2         any cross-examination of this witness?

                MR. McCULLOCH:         Yes, sir, I do.         Can I speak to

           the clerk first?

 5               THE COURT:       Sure.

 6

 7                                    CROSS-EXAMINATION

 8

 9         BY MR. McCULLOCH:

10               Q.   Good morning.

11               A.   Good morning.

12               Q.   May I refer to you as Kathy?

13               A.   Yes, you can.

14               Q.   Thank you.       Kathy, as I understand things,

15          you were a resident of Sycamore for how many years

16         before moving?

17               A.   I was in Sycamore -- I moved away from

18         Sycamore in 1969.

19               Q.   But you were born here in '49?

20               A.   '49.

21               Q.   And so you were basically a resident for 20

22          years?

23               A.   Yes.

24               Q.   And you lived in the same address on Archie?




                                                                   Plaintiff 004256
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                                                                                       27




 1              A.    Until 1961.

                 Q.   Okay.     But in terms of the material times as

           far as they relate to this case you were

                 A.   A Sycamore resident.

                 Q.   -- a Sycamore resident, an Archie resident,

           a neighborhood kid; is that right?

                 A.   That's correct.

 8               Q.   And your neighborhood as it was sort of

 9         defined you went to school across the street?

10               A.   Correct.

11               Q.   So we talking about 25 yards away out your

12         front door to the schoolyard?

13               A.   Yes.

14               Q.   And slightly to the east of your house is

15         street called Center Cross, as I understand it; is

16         that right?

17               A.   That is right.

18               Q.   Center Cross is also a state road Route 23?

19               A.   Correct.

20               Q.   And as you proceed down or south on state

21          road 23 or Center Cross there was a store down

22         there; is that right?

23               A.   Yes.

24               Q.   What was the name of that store?




                                                                    Plaintiff 004257
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                                                                                       28




 1              A.    I don't remember.

 2              Q.    How about if I said Ferguson's, would that

 3         ring a bell?

                A.    I remember the man that ran the store.                   His

           name was Bernie.

                Q.    Was that a place that you neighborhood kids

           went to periodically?

 8              A.    Yes, we went to that store.

 9              Q.    And there were other kids from the

10         neighborhood that went to that store?

11              A.    Correct.

12              Q.    And there were kids that played on that

13         playground from the neighborhood; is that right?

14              A.    Yes.

15              Q.    When we say "that playground", we're talking

16         about the West Elementary School?

17              A.    Right.

18              Q.    Now, I understand that West Elementary

19         School has changed over some time; is that right?

20              A.    Yes.

21              Q.    And so the place that is now probably more

22         of the playground was where the school building used

23         to sit and the place that is where the building is

24         now was more of a playground area; is that correct?




                                                                    Plaintiff 004258
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                                                                                      29




                 A.   The swing sets are still in the same spot.

                 Q.   And that's where you guys played?

                 A.   Yes.

                 Q.   Or partly?

                 A.   Partly.

                 Q.   And there were young kids that played on

 7          that playground.         There were older kids; is that

 8          right?

 9               A.   That playground had two sets of sides, one

10          for the little kids, one for the older kids.

11               Q.   And so the kids came to the playground and

12          played I guess is the point and the sides were there

13          to be used --

14               A.   The side -- yes.

15               Q.   Used if you wanted and if you wanted to play

16          Kick the Can, you could play with older kids; is

17          that right?

18               A.   That's right.

19               Q.   Now, in 1957 or thereabouts did you have a

20          TV at home?

21               A.   I think we did.         I'm not sure.

22               Q.   Started to just come into being, but would

23          it be fair to say that kids were more oriented

24          toward playing outside or being with friends?




                                                                   Plaintiff 004259
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                A.   We played outside if we had the chance.

                Q.   So it isn't like today where we sit down in

           front of our TVs and stay indoors all the time?

                A.    No.

                Q.    And so that's the way it was in 1957 when

           you were eight and Maria was seven; is that right?

                A.    Yes.

                Q.    And Archie was a quiet street as you

 9         described it.         It was basically a small street that

10         ran from Center Cross to Fair Street; is that right?

11              A.    Yes, it is.

12              Q.    And the buildings were being built but

13         things -- the neighborhood is just as it is today,

14         sort of the way it was then; is that right?

15              A.    Really it is the same.            Nobody comes down

16         Archie Place if you do not live there.                   It's just a

17         quiet street.

18              Q.    But people drive up and down Center Cross,

19         Route 23 a great deal; is that right?

20              A.    Correct.

21              Q.    So in terms of the circumference of your

22         play area          does that make sense?           It's sort of a

23         weird way to express it, but like did you go up to

24         Fair Street, did you go south to the store?




                                                                   Plaintiff 004260
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 1               A.   We didn't go to the store.

 2               Q.   Okay.     But you said earlier that you had

 3          been?

 4               A.   As an older person I went to the store, but

 5          we could not walk that far to the store.

                 Q.   All right.       You mean when you were seven or

 7          eight?

 8               A.   No.

 9               Q.   When was it you were allowed to go to the

10          store?

11               A.   Maybe when we were ten or 11.

12               Q.   Now, do you recall the earliest time that

13          you recall being with Maria and her being your

14          friend?

15               A.   From the time I was probably five.

16               Q.   So this is a period of time two or three

17          years before this incident?

18               A.   I -- I think so.

19               Q.   And if it was two or three years before

20          then, it was a time when Maria was four years old?

21               A.   Yeah.

22               Q.   And you and she used to play on a daily

23          basis?

24               A.   I would agree, yes.




                                                                    Plaintiff 004261
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                                                                                      32




1               Q.    Back in the day that's when kids went to

2          school in the morning session and an afternoon

3          session and probably came home for lunch in between;

 4         is that right?

                A.    Yes.

                Q.    You had it easy because you just had to

           cross Archie Street to get home for lunch?

 8              A.    Right.

 9              Q.    So you had extra time.            You could play on

10         the playground, you could play in your yard, you

11         know, before the afternoon session, for example?

12              A.    I don't remember.

13              Q.    You could certainly play in the playground

14         after school and before coming home for dinner?

15              A.    No.    We played -- we would come straight

16         home from school.

17              Q.    Straight home is, what, 25 yards or so?

18              A.    That's right, but we had to come home from

19         school first before we could go out and play.

20              Q.    Now, the game of Duck the Cars, how long had

21         that gone on?

22               A.   Maybe 15 minutes.

23              Q.    I mean the game itself, not that --

24              A.    Oh.




                                                                   Plaintiff 004262
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                                                                                      33




1                Q.   I'm sorry.

2                A.   Since we were little kids.             It was just

 3         something we created.

                 Q.   How does someone win that game or is

            there

                 A.   There is no winning to the game.

                 Q.   It's just you play till you get tired --

                 A.   Yeah.

                 Q.       and went home?         All right.

10               On that particular day, though, you said it was

11          a Tuesday.       You had already played with Maria.                 You

12          had dinner and because of the snow it was -- you

13          asked permission to come back out again in the

14          evening; is that right?

15               A.   That's right.

16               Q.   And since it was December would it be fair

17          to say that it got dark early?

18               A.   Yes, it is.

19               Q.   And would it be fair to say that after

20          dinner it was dark outside?

21               A.   Yes, it was.

22               Q.   And it was at least cold enough to be making

23          snow; is that right?

24               A.   Yes.




                                                                   Plaintiff 004263
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 1              Q.    How much snow fell that day?

                A.    A trace.      It had just started snowing the

           first -- first snowfall of the year.

                Q.    Okay.

                A.    It wasn't sticking to the ground yet.

                Q.    And when you and Maria went down to the

           intersection of Center Cross and Archie to play Duck

           the Cars, how long were you there?

                 A.   I'd say 15, 20 minutes, half an hour.

                Q.    In terms of clock time what time was it when

            you got there?

                 A.   Before six.       Right before six, I would say.

13               Q.   And what time was it when you left to go get

14          your mittens?

15               A.   I do not know what time it was.

16               MR. McCULLOCH:        May I approach the witness,

17         Judge?

18               THE COURT:       Sure.

19         BY MR. McCULLOCH:

20               Q.   With respect to -- let's do this first.

21         People's Exhibit No. 78 reflects you showing some

22         mittens?

23               A.   Yes, it does.

24               Q.   Those would be the mittens that you went




                                                                   Plaintiff 004264
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                                                                                      35




 1         home to get that night; is that right?

                A.    Yes, it is.

                Q.    That obviously was not taken on December 3,

           1957, but this was done by you and some newspaper

 5         people at a time after that?

                A.    That I don't know.          I mean, it was taken

           after -- after Maria's disappearance.                   I do not know

 8         when.

 9              Q.    Can you tell me how much later?

10              A.    I don't know what the date was, but it was

11         probably the next day, the day after.

12              Q.    When you say probably, we're just

13         estimating.        Is that fair to say?

14              A.    I'm estimating that it was taken after the

15         day Maria disappeared.

16              Q.    I'm guessing you wouldn't have thought to

17         show your mittens or your hands before Maria

18         disappeared; is that right?

19               A.   That's right.

20              Q.    Okay.     So sometime afterwards; is that

21              A.    Sometime afterwards.

22              Q.    Now, with respect to People's Exhibit No.

23         80, you were shown this photograph earlier; correct?

24              A.    No, I haven't seen this photograph.




                                                                   Plaintiff 004265
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                Q.    What does that photograph portray?

                A.    That photograph portrays the street corner,

           the tree, the alley.

                Q.    Okay.

                A.    Maria's house, Maria's house right there.

                                 (Indicating.)

                Q.    Okay.     And the street sign would be the

 8         vertical --

 9               A.   That's the pole.

10               Q.   -- pole, and on top of that if we had X-ray

11          vision it would tell us?

12               A.   Archie Place.

13               Q.   Archie Place or Center Cross or both?

14               A.   Yes.

15               Q.   Now, the next thing after you kids have been

16          playing outside you said you saw a man coming from

17         the south?

18               A.   Yes.

19               Q.   Correct?

20               A.   Correct.

21               Q.   And it was a man, not a boy?

22               A.   It was an older person.

23               Q.   An older person.         And coming from the south

24         meaning from the area that you've indicated had the




                                                                    Plaintiff 004266
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                                                                                      37




           store, that direction; is that correct?

                 A.   Would be coming from DeKalb Avenue which is

           from that direction, yes.

                 Q.   That man was walking?

 5               A.   Yes, he was walking towards us.

 6               Q.   And there were cars passing in the street on

 7          Route 23?

 8               A.   Yes.    It's a highway.

 9               Q.   Okay.     And the man walked up to you and

10         Maria and asked you do you like dolls and would you

11         like a piggyback ride?

12               A.   First of all, he told us his name was

13          Johnny.

14               Q.   Okay.     And then he asked if you liked dolls

15         and you'd like a piggyback ride?

16               A.   Correct.

17               Q.   Any other conversation that you recall?

18               A.   Not at this time, no, I don't remember any

19         conversations with him.

20               Q.   Would you -- strike that.

21               There's nothing unusual about people walking

22         down Center Cross street back in 1957; is that

23         correct?

24               A.   No, no.




                                                                   Plaintiff 004267
 Case: 3:17-cv-50116 Document #: 285-6 Filed: 02/10/20 Page 38 of 64 PageID #:3917




                Q.    Nothing unusual about having a conversation

           with a person you didn't know?

                A.    No.    This was a safe time in our lives.

                Q.    And we'll get back to that, but within a

           matter of hours you were speaking to some policemen

           about what it is you had seen; is that correct?

                A.    Yes.

                Q.    And those policemen were asking you to give

 9         descriptive information; is that correct?

10              A.    That's correct.

11              Q.    Would it be fair to say that there is a

12         difference in your mind between 24 and 25 years old

13         and 17?

14               A.   Not as an eight-year-old child, no.

15               Q.   Would it be fair to say that there's a

16         difference between 30 years of age and someone who

           is 17?

18               A.   I don't think the age was -- had entered in

19         my mind.       I just know the shape of the face, the

20         hair.

21               Q.   Excuse me.       There's no question pending.

22               So to you the age was unimportant; correct?

23               A.   I wouldn't -- I don't know if it would be

           unimportant.        The question is -- I don't know how to




                                                                    Plaintiff 004268
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                                                                                       39




 1         answer the question.

2                Q.   Did it seem important to you -- excuse me.

 3          Did it seem important to you that the police thought

           age was important?

                 A.   I think they wanted the description that I

            could give of him.

 7               Q.   So did they suggest ages to you?

8                A.   That I don't remember.

 9               Q.   And certainly there were many contacts

10          between the police and I include the FBI and

11          yourself over the next three or four months; is that

12         correct?

13               A.   That's correct.

14               Q.   You were shown I believe you said thousands

15          of pictures; is that right?

16               A.   All the mug shots that I went through, yes.

17               Q.   Okay.     Now, when you say thousands, you mean

18          a thousand or do you mean 3,000 or 5,000 or what's

19         the --

20               A.   Makes no difference.           It was a lot of

21          pictures.

22               Q.   And you were driven I think by FBI agents to

23          Wisconsin to view a line-up, were you not?

24               A.   To Madison, Wisconsin.




                                                                    Plaintiff 004269
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 1              Q.    And I assume that for a seven-year-old kid

 2         or eight in your case getting a drive with the FBI

 3         is a memorable experience?

                 A.   It was getting to be very old at this time.

           I was not happy to be having to do this all day

           every day.

 7               Q.   But it was something that was memorable to

 8          you; is that right?

 9               A.   I remember it, yes.

10               Q.   Did your parents go?

11               A.   I think my father went.

12               Q.   And you went to Madison, Wisconsin.                 Yes?

13               A.   Yes.

14               Q.   And you knew that you were being taken there

15         for a reason; is that right?

16               A.   Yes.

17               Q.   And the reason as you understood it was to

18         see if you could identify someone?

19               A.   Correct.

20               Q.   What was the manner in which you were shown

21         people?

22               A.   I was shown behind a mirror.

23               Q.   Like a one-way glass kind of arrangement?

24               A.   Correct.




                                                                   Plaintiff 004270
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                Q.    And how many people were on the other side?

                A.    Six or seven.

                Q.    And how many people were on your side?

                 A.   I don't remember.

                 Q.   Well, can we assume your father was there?

                 A.   My father, the police officers, everybody

 7         involved with my taking myself up there.

 8               Q.   All right.       And the FBI.       Are we including

 9         them in with the police officers?

10               A.   Yes.

11               Q.   As a result you told them that you

12          recognized someone; is that correct?

13               A.   No.

                 Q.   Did you pick someone out?

15               A.   I do not believe I picked anybody out.

16               Q.   But there was someone of interest in that

17         line-up; is that correct?

18               MS. TREVARTHEN:         Objection, Judge.

                 THE COURT:       Sustained.

20          BY MR. McCULLOCH:

21               Q.   And when you left that line-up, where did

22          you go?

23               A.   I don't remember.          Back home, I would

24         presume.




                                                                   Plaintiff 004271
 Case: 3:17-cv-50116 Document #: 285-6 Filed: 02/10/20 Page 42 of 64 PageID #:3921
                                                                                      42




                 Q.   Now, when you met the strange man on the

 2         street December 3rd, about what time was that?

 3               A.   Around 6 o'clock.

 4               Q.   And about what time do you recall it being

 5         when your parents called the police that night?

 6               A.   Probably 7:30.

 7               Q.   Probably?

 8               A.   I could not tell you the time.               I am --

 9         7:30.

10               Q.   And we're picking that as a time because

11         that -- you sort of estimate times that you were

12         doing things.         Is that fair to say?

13               A.   That's        that's correct.

14               Q.   At the risk of beating a dead horse, what

15         time was it that the police showed up at your house?

16               A.   It's in the records.           I'd say 7:30, 8

17         o'clock.

18               Q.   When you say it's in the records, in

19         connection with your testimony here today or at any

20         time have you been shown those records?

21               A.   No.

22               Q.   So you've never seen an FBI report?                 You've

23         never seen a Sycamore Police Department report?

24               A.   I do not remember the exact time my mother




                                                                   Plaintiff 004272
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 1         called the police which would have been the exact

           time.

                 Q.   Right, but my question is you've never been

           shown a report?

                 A.   No.    Do not recall of ever being shown a

            report.

                 Q.   You said today that when you met the

           stranger and he introduced himself as Johnny you

 9          didn't know him?

10               A.   No, sir.

11               Q.   How tall was he?

12               A.   To a little kid he was a grown-up to me.

13               Q.   How heavy was he?

14               A.   Not very heavy; a slender person.

15               Q.   In terms of pounds?

16               A.   I'm a child of eight.           I would say probably

17          150.

18               Q.   How was         what was his -- what were the

19          shoes or boots or whatever that the fellow was

20          wearing?

21               A.   I do not know the shoes or the boots.                  I was

22              I do not know the shoes or the boots.

23               Q.   What kind of pants did he have on?

24               A.   In my recollection it would have been jeans.




                                                                   Plaintiff 004273
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                Q.    Anything unusual about his belt or belt

           buckle?

                A.    He had a sweater on.

                Q.    That's

                A.    That's what I remember.

                Q.    That's hardly the answer to the question

           about belt or belt buckle?

 8               A.   I don't remember the belt buckle at this

 9         time.      I do not remember a belt buckle.

10              Q.    How about scars or marks?

11              A.    No marks on his face.

12              Q.    How about on his hands?

13              A.    No marks on his hands.

14              Q.    How about tattoos?

15              A.    He had a sweater on.

16              Q.    Did they cover his hands?

17              A.    Covered his arms.

18              Q.    When you were present with Maria and this

19         stranger --

20                               (Building construction noise.)

21              THE COURT:        The dental office moved in next

22         door.

23                              (Laughter.)

24         BY MR. McCULLOCH:




                                                                                      1
                                                                   Plaintiff 004274
    Case: 3:17-cv-50116 Document #: 285-6 Filed: 02/10/20 Page 45 of 64 PageID #:3924




                   Q.    By the way, you said that you had never met

              this person before; is that right?

                   A.    That's right.

                   Q.    Now, when Maria took her piggyback ride, you

              stood there at the intersection of Archie and Center

              Cross or in that area and watched that all occur; is

              that right?

    8              A.    That's right.

    9              Q.    Didn't think anything unusual of that?

10                 A.    No, not at all.

11                 Q.    When Maria and this strange man came back,

12            Maria went off to her home as you've described; is

13            that right?

14                 A.    That's right.

15                 Q.    And you stayed there with the fellow not

16            having any conversation?

1                  A.    I cannot recall the conversation we had.                    We

18            were both waiting for Maria to come back with her

19            doll.

20                 Q.    Did you have a doll?

21                 A.    No.

22                 Q.    When you left, did you leave to go get a

23            doll?

24                 A.    No, sir.




                                                                       Plaintiff 004275
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                  Q.    Did you ever return with a doll?

                   A.   No, I did not.

                   Q.   Did you tell police at that time or during

             that investigation that you had left to get a doll?

                   A.   I had left to get my mittens.

                   Q.   But I'm asking you did you tell them that

  7           you had left to get a doll?

  8                MS. TREVARTHEN:         Objection, Judge.          The witness

  9          has asked and answered the question.

10                 THE COURT:       Sustained.

11           BY MR. McCULLOCH:

12                 Q.   Now, when Maria returned, then you yourself

13           left; is that right?

1 L1
                   A.   Yes.

15                 Q.   And that left them at the intersection and

16            you going west on Archie; is that right?

17                 A.   Yes, it was.

18                 Q.   Did you ever look back?

19                 A.   I don't remember looking back.

20                 Q.   So you just went home and got your mittens?

21                 A.   Correct.

22                 Q.   Correct?      And when you returned, Maria was

23            not there?

24                 A.   No, she was not.




                                                                     Plaintiff 004276
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                                                                                      47




                Q.   In the trace amounts of snow that had fallen

           did you notice any footprints?

                A.   I went home -- no, I didn't notice any

           footprints.

                Q.    You went home to Maria's house and you

           talked to her brother; is that right?

                A.    Yes, it was.

                Q.    You came back outside?

 9              A.    Yes.

10              Q.    You yelled her name, you wandered around for

11         a while and then you went back to your mom's house;

12         correct?

13              A.    Yes.

14              Q.    We've talked about the line-up in Milwaukee.

15         How many other line-ups did you attend?

16              A.   A lot, a lot of line-ups.

17              Q.    Can we say a lot means more than 20 or less

18         than 20?

19              A.    More than 20.

20              Q.    More than 40?

21              A.    You're asking me something that could be

22         documented, I suppose, because my parents had to let

23         me go every time they asked me to go with them.

24              Q.   So your answer to my question is you don't




                                                                   Plaintiff 004277
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                                                                                      48




1           know a number?

                 A.   There was probably a hundred times I went to

           see line-ups.

                 Q.   In your initial report from December 3rd or

            4th did you report that there were                   strike that.

                 Your report was that there was no tooth missing

 7          in this person's mouth; is that correct?

8                MS. TREVARTHEN:         Objection, Judge.          This has all

 9          been ruled to be hearsay.

10               MR. McCULLOCH:        But she may have a recollection.

11               THE COURT:       Overruled.       She might have a

12          recollection.

13          BY MR. McCULLOCH:

14               Q.   Did you report and recall that the person

15          was not -- had a full set of teeth, I guess is the

16          way to say it?

17               A.   I don't remember.

18               Q.   Did you report later on that the tooth was

19          missing?

20               A.   I do not think so.

21               Q.   In your initial reports to police

22          authorities did they ask you to develop a

23          description based on your father's age or height or

24          weight or an agent's age or height or weight or




                                                                   Plaintiff 004278
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           people around you that could be compared with?

                A.    You're asking me if I remember if they asked

           me if I compared these guys?

                 Q.   Yes.

 5               A.   I don't remember them comparing them with my

 6         parents

                 Q.   How tall was your father?
                      517H    .
 8               A.

 9               Q.   Did you tell the agents that the Johnny you

10         saw was about the same height as your father?

11               MS. TREVARTHEN:         Objection, Judge.          This has

12         been asked and answered.             She doesn't know.

13               THE COURT:       Sustained.

14         BY MR. McCULLOCH:

15               Q.   Now, directing your attention to September

16         of the year 2010, you were first contacted by an

17         agent from the State Police; is that right?

18               A.   That's correct.

19               Q.   Contact occurred face to face or over the

20          phone?

21               A.   Face to face.

22               Q.   So he showed up at your door, at your place

23         of work?          How did that happen?

24               A.   He showed up at my house around 6 o'clock on




                                                                   Plaintiff 004279
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                                                                                       50




 1         September 1, 2010.

2                Q.   Did he identify himself?

3                A.   Yes, he did.

 4               Q.   Tell you his role in this case?

 5               A.   Yes, he did.

6                Q.   Talk to you about what it is you could

7           remember some 50-plus years later?

 8               A.   Yes, he had told me that this was about

 9          Maria Ridulph's disappearance.

10               Q.   And did he then -- did you have a

11          conversation with him?

12               A.   Yes, I had a conversation.

13               Q.   How long did that conversation take place in

14          your living room?

15               A.   An hour and a half.

16               Q.   Was he alone or did he have another officer

17          with him?

18               A.   He had another officer with him.

19               Q.   Agent Hanley was one officer?

20               A.   Yes.

21               Q.   Who is the other guy?

22               A.   I do not remember the officer's name.

23               Q.   Did Hanley do most of the talking and the

24          other guy do most of the sitting?




                                                                    Plaintiff 004280
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                A.    Yes.

                Q.    When he came back some eight days later you

           certainly knew what he was there to do; is that

           right?

                A.    Yes, I did.

                Q.    Now, he showed you some form and you signed

           that; is that right?

                A.    Yes, I did.

                Q.    He laid out the photos somehow; is that

           right?

11              A.    Correct.

12              Q.    Now, can you tell me if those photos were

13         top to bottom or left to right?

14              A.    They were laid out on the coffee table one

15         at a time.

16              Q.    When you say one at a time, did he deal them

17         out like cards, A, B, C and take one back?

18               A.   Yes, he dealt them out as a deck of cards.

19               Q.   Okay.     So when he got through, there were

20         six cards in front of you facing?

21               A.   Not exactly.

22               Q.   Well, how exactly?

23               A.   He would put one out and I would look at it

24         and that was not the person.




                                                                   Plaintiff 004281
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                 Q.   Okay.

                 A.   He would take it away.

                 Q.   And so they were like an individual show-up,

           if you will.        Does that sound right?

                 A.   Yes.

                 Q.   So when you went through these six photos,

            you eliminated some three of them right away; is

           that right?

 9               A.   Correct.

10               Q.   Now, just so that everyone's clear, these

11          photos look like            how old were the fellows in the

12          photos?

13               A.   They were of high school vintage pictures.

14               Q.   1950

15               A.   Graduation pictures of individuals.

16               Q.   Did you recognize some of those individuals?

17               A.   Only one.

18               Q.   And did you recognize of those five other

19          people people that you knew from Sycamore?

20               A.   No.

21               Q.   Now, when you eliminated three of those

22          pictures, that left three to go; is that right?

23               A.   That's right.

24               Q.   And then you reduced it to two to go; is




                                                                    Plaintiff 004282
 Case: 3:17-cv-50116 Document #: 285-6 Filed: 02/10/20 Page 53 of 64 PageID #:3932




 1         that right?

                A.    Yes.

                Q.    And what you told the agent was that from

           the best of your recollection "This is the one I

           pick".      Is that fair to say?

                A.    From my recollection -- from seeing that

           picture that was the picture of Johnny that I had

           never seen until that day.

                Q.    And you told the officer that based on your

           best recollection this is the guy?

11              A.    That's right.

12              Q.    That picture was slightly different than

13         other pictures, is it not -- is that fair to say?

14              A.    No.    It was the picture of Johnny.

15              Q.    But it's different than the other five

16         pictures; correct?

17               A.   No.    It was a picture that I had chosen.

18               Q.   I understand that.

19              Let me start I guess at the top here.                   1A.

20         That's what you describe as a typical high schoo

21         graduation photograph?

22               THE COURT:       Excuse me.       For the record this is

23         People's Group Exhibit 1?

24              MR. McCULLOCH:         But the individual 1A, yes.




                                                                   Plaintiff 004283
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                 THE COURT:       I'm just trying to get the record

           complete.

                 MR. McCULLOCH:        Okay.

            BY MR. McCULLOCH:

                 Q.   I forgot where I was.           Okay.     lA is

            representative of what you described as a high

 7          school yearbook photo; is that right?

 8               A.   Correct.

 9               Q.   So you got kids in what appears to be a

10          suit, a white shirt looking off slightly at an angle

11          with combed hair; correct?

12               A.   Correct.

13               THE COURT:       Please speak up a little louder.

14               A.   (Continuing.)        Yes.

15               MR. McCULLOCH:        I'm sorry.

16          BY MR. McCULLOCH:

17               Q.   And the background on the high school

18          graduation photo is what, white?

19               A.   On this picture?

20               Q.   Yes.

21               A.   Yes, it's white.

22               Q.   I can't tell you if it's a wall or a white

23          screen behind them?

24               A.   No, you can't.




                                                                    Plaintiff 004284
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                                                                                      55




                Q.    But whatever the school yearbook photo guy

           was using that day, that's what's there.

                 A.   That's what was there.

                 Q.   And if we go with 1B, again, sort of the

           typical high school graduation yearbook photo;

           correct?

                 A.   Just a picture, just a picture of somebody

           I've never seen.

                 Q.   Was wearing a white shirt and a coat?

                 A.   Yep, he is.       I'm not looking at --

                 Q.   Hair combed?

                 A.   Yeah.

                 Q.   White background?          No missing teeth?

14               A.   No missing teeth.

15               Q.   How about 1F, same deal, guy looking off to

16         the right, suit, white shirt, white background;

17         correct?

18               A.   Correct.

19               Q.   No missing teeth?

20               A.   No.

21               Q.   1E, white guy, white shirt, dark suit, light

22          background?

23               A.   Somebody I've never seen.

24               Q.   Looking off.        No missing teeth.




                                                                   Plaintiff 004285
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 1              1C, white guy, white shirt, dark suit, white

2          background; correct?

                 A.   Correct.

                 Q.   Looking off, no missing teeth; correct?

 5               A.   Correct.

 6               Q.   Now, the one you picked now known as 1D and

 7          we know that because you signed it; right?

 8               A.   That's right.

 9               Q.   Background is what?

10               A.   Background is dark.          I wasn't looking at

11         background.

12               Q.   I'm just asking you what you saw at the time

13          you made your pick.           No suit; correct?

14               A.   No suit.

15               Q.   No tie and the camera flash or lighting is

16         such that the left ear stands out prominently;

           correct?

18               A.   Correct.

19               Q.   No missing teeth; right?

20               A.   No missing teeth.

21               MR. McCULLOCH:        One minute, Judge.

22               THE COURT:       Sure.

23               MR. McCULLOCH:        Judge, no further questions.

24               THE COURT:       Thank you.




                                                                    Plaintiff 004286
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                 At this time does the State have any redirect?

                 MS. TREVARTHEN:         I do, Judge.       Thank you.

                 THE COURT:       You may proceed.



                                    REDIRECT EXAMINATION



 7         BY MS. TREVARTHEN:

 8               Q.   Defense counsel asked if you previously knew

 9          Johnny.     Do you recall that?

10               A.   Yes, I do.

11               Q.   Did you know a John Tessier?

12               A.   No.

13               Q.   Did you know a Tessier family that lived in

14         the neighborhood in 1957 when you were eight?

15               A.   Yes.

16               Q.   Okay.     So you were aware that there was a

17         family by the name of Tessier?

18               A.   Yes.

19               Q.   But you did not know John Tessier; is that

20         correct?

21               A.   But I did not know John Tessier.

22               Q.   Counsel asked you about your

23         characterization that an older person was walking

24         towards you; correct?




                                                                   Plaintiff 004287
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                 A.   Correct.

                 Q.   Before when you said that there was a man

           that was coming, that came towards you and Maria

           from the south --

                 A.   Yes.

                 Q.   -- you were -- again, you were eight years

           old; correct?

                 A.   Correct.

                 Q.   And so when you're eight years old --

10               MR. McCULLOCH:        Judge, I'm going to object.

11         There's no question here, but it's coming out as an

12         argument.

13               MS. TREVARTHEN:         I'm trying to ask a question,

14         Judge.

15               THE COURT:       Rephrase, please, thank you.

16         BY MS. TREVARTHEN:

17               Q.   You indicated that he looked grown up to

18          you; correct?

19               A.   Correct.

20               Q.   And as an eight year old a grown-up -- how

21         would you characterize age in terms of a grown-up?

22               A.   Somebody twice as old as myself.

23               Q.   Thank you, ma'am.

24               Now, counsel also asked you that it wasn't




                                                                    Plaintiff 004288
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1          unusual for somebody to walk down the street;

2          correct?

 3              A.    That's correct.

 4              Q.    I know it was the '50's, but was it unusual

 5         for someone that you didn't know to ask you if you

6          wanted a piggyback ride?

                A.    Not at that time.         We were not afraid of

 8         anyone.

 9              Q.    Was that a common occurrence?

10              A.    No, it never happened to me before.

11              Q.    Would it be normal for some random man to

12         ask you if you wanted a piggyback ride?

13              A.    I don't think so.

14              Q.    Counsel asked you a couple specific

15         questions about what type of shoes or boots Johnny

16         was wearing; correct?

17              A.    Correct.

18              Q.    He also asked you if you recalled what type

19         of a belt buckle.          Okay.     While you're standing

20         under that streetlight were you focused on Johnny's

21         shoes or his face?

22               A.   His face.

23              Q.    Were you focused on his belt buckle or his

24         face?




                                                                    Plaintiff 004289
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 1               A.   His face.

 2               Q.   You were also asked when you returned back

 3         to the corner after you went home to get your

           mittens if you saw any footprints in the snow?

                 A.   Right.

                 Q.   Correct?

 7               A.   Correct.

 8               Q.   And what, if any, training as an

 9         investigator did you have as an eight year old?

10               MR. McCULLOCH:        Judge, I'm going to object.                I

11         think that's argument.

12               THE COURT:       Sustained, sustained.

13         BY MS. TREVARTHEN:

14               Q.   Your recollection today when you were asked

15         to describe Johnny's teeth were that his teeth were

16         big; is that correct?

17               A.   That is correct.

18               Q.   Now I want to ask you again about the photo

19         line-up that you were shown on September 9th of

20         2010.      Those photographs that you were shown, they

21          were all black-and-white photographs; correct?

22               A.   That's correct.

23               Q.   And they were all of males?

24               A.   They were all of males.




                                                                    Plaintiff 004290
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                Q.    Did they all appear to be about the same

           age?

                A.    Yes.

                Q.    All the individuals in those photographs

           were formally dressed; is that correct?

                A.    Correct.

                Q.    They all appear to be clean cut.                Would that

 8         be fair?

 9              A.    That would be a fair assumption.

10              Q.    The individual that you picked out as being

11         Johnny, counsel asked you about that photograph

12         being different.          Do you recall that?

13              A.    I recall no difference.            I looked at the

14         faces.

15              Q.    I'm asking you if you recall the question

16              A.    Oh, yes.

17              Q.   -- that he asked you about it being

18         different?

19              A.    Oh, yes, I do, yes.

20              Q.    Did the photograph that you picked out

21         did the photograph have a black eye?

22              A.    No.

23              Q.    Was there a tattoo on his face?

24              A.    No.




                                                                    Plaintiff 004291
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                 Q.   And counsel also asked you about you were

            able to immediately eliminate three out of the six

            photographs that you were shown; correct?

                 A.   Correct.

                 Q.   And then you proceeded to look at the

            remaining three additionally, is that correct, or

 7          further?

 8               A.   Yes, it is.

 9               Q.   Again, you haven't seen this individual in

10          over 50 years; correct?

11               A.   That is right.

12               Q.   Were you trying to be careful in how you

13          selected?

14               A.   I was trying to put all my thoughts together

15          of what Johnny looked like back in '57.

16               Q.   And did you do that before selecting that

17          photograph?

18               A.   Yes, I did.

19               MS. TREVARTHEN:         I don't have anything further,

20          Judge.     Thank you.

21               THE COURT:       Thank you.

22               Recross?

23

24




                                                                    Plaintiff 004292
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                                                                                      63




                                 RECROSS-EXAMINATION



           BY MR. McCULLOCH:

                Q.    Were you asked at the time you made your

           received the presentation of the photos were you

           asked if you were positive or certain or any words

           to that effect?

 6              A.    I think I was asked if I was positive that

 9         picture was Johnny.

10              Q.    And that was true even though there were no

11         missing teeth or gaps in teeth that you had

12         previously --

13              A.    There was no missing teeth.

14              MR. McCULLOCH:           Okay.   Nothing further.

15              THE COURT:        Thank you.

16              Ma'am, I missed the spelling of your name, I

17         think.      Could you spell your last name again?

18               WITNESS:      Sigman or Chapman?

19              THE COURT:        Both.

20               WITNESS:      Sigman is S-i-g-m-a-n.

21              THE COURT:        Yes.

22               WITNESS:      Chapman, C-h-a-p-m-a-n.

23              THE COURT:        Thank you.

24              All right.        Thank you very much, ma'am.              You may




                                                                   Plaintiff 004293
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 1         step down, and as long as this trial is proceeding

 2          do not discuss your testimony with anyone else, not

 3          any friends or family or anyone else.                  You're

 4          released from your subpoena.

 5               WITNESS:      Thank you.

 6               THE COURT:       And we've been going just about an

 7          hour and a half now so we'll take about a

 8          five-minute recess before we call the next witness.

 9                         (A recess was taken.)

10                         (The following proceedings were had

11                          in open court.)

12               THE COURT:       Yes, yesterday morning was 62 in

13          here and we were all freezing.               Today it's 73.8.

14               All right.       Now, at the time we took the recess

15          we just finished a witness and at this time I'll

16          invite the State to call its sixth witness.

17               MS. TREVARTHEN:         Thank you, Judge.          Before we

18          call the next witness we'd be asking to admit

19          People's Exhibit No. 78, the photograph of the

20          mittens used with the last witness.

21               THE COURT:       Could you repeat that again,

22          People's No.?

23               MS. TREVARTHEN:         78.

24               THE COURT:       Any objection?




                                                                   Plaintiff 004294
